                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION


 MABLE DUBAR,                                 )
                                              )
                     Plaintiff,               )
                                              )
 vs.                                          )               JUDGMENT
                                              )         CASE NO. 7:23-CV-1655-M-RJ
 RYAN HANKS, CRYSTAL GRAHAM,                  )
 AMY M. YOUNGBLOOD, and                       )
 STORAGE TREASURES, LLC,                      )
                                              )
                        Defendants.           )

This action came before the Honorable Richard E. Myers II, Chief United States District
Judge, for ruling as follows:

IT IS ORDERED, ADJUDGED, AND DECREED that pursuant to the court’s order entered on
April 3, 2024 [DE 15], the court ADOPTS the memorandum and recommendation [DE 14]. The
court GRANTS the motion to dismiss [DE 6] DISMISSES the complaint without prejudice. The
court DENIES as MOOT Plaintiffs motion to deposit funds [DE 5].

This Judgment filed and entered on April 3, 2024, and copies to:
Mable Dubar (via U.S. mail)

 April 3, 2024                                        Peter A. Moore, Jr.
                                                      Clerk of Court



                                                  By: /s/ Kimberly R. McNally
                                                      Deputy Clerk




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